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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 ANNE WITTMANN,                             CIVIL ACTION NO.: 17-CV-9501

        Plaintiff,
                                            JUDGE MARTIN L.C. FELDMAN
 VERSUS

 UNUM LIFE INSURANCE                        MAGISTRATE JOSEPH C. WILKINSON, JR.
 COMPANY OF AMERICA,

        Defendant.


                                     NOTICE OF APPEAL

               Notice is hereby given that Plaintiff Anne Wittmann hereby appeals to the United

States Court of Appeals for the Fifth Circuit from the Judgment (R. Doc. 141) entered in the above-

named case on February 28, 2019, as well as the Reasons therefore (R. Doc. 140), dated February

21, 2019, in accordance with 28 U.S.C. § 1291 and Federal Rules of Appellate Procedure 3 and 4.



                                             Respectfully submitted,

                                                   /s/ Rachel W. Wisdom
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                                             Kathryn M. Knight, La. Bar Roll No. 28641
                                             Walter F. Metzinger III, La. Bar Roll No. 37799
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                                       CERTIFICATE

                I hereby certify that a copy of the foregoing Notice of Appeal was filed

electronically with the Clerk of Court using the CM/ECF system this 1st day of April, 2019. Notice

of this filing will be sent to all counsel of record by operation of the court's electronic filing system.

                                                             /s/ Rachel W. Wisdom




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